       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                      TREVOR LYNN ABRAMS,
                           Appellant,

                                      v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-0980

                           [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Nineteenth Judicial Circuit, St. Lucie County; Michael C. Heisey,
Judge; L.T. Case No. 562020CF000149A.

  Trevor L. Abrams, Lowell, pro se.

  No appearance for appellee.

PER CURIAM.

  Affirmed.

DAMOORGIAN, CIKLIN and KUNTZ, JJ., concur.

                          *           *         *

  Not final until disposition of timely filed motion for rehearing.
